Dear Mr. Jeanmard:
You have requested an opinion from this office regarding various appointments to the Evangeline Parish Solid Waste Commission.  The commission is supported by taxes and user fees.  Members are appointed by the police jury and the mayors of the parish.  The mayors make their appointments subject to approval by their boards of aldermen and the members of each ward within the police jury make their appointments by wards.
Specifically, your questions are as follows:
      (1)  Can a member of the Ville Platte Board of Aldermen serve on the commission if appointed by the Mayor and approved by the board of aldermen?
      (2)  Can a member of the Ville Platte Board of Aldermen serve on the commission if appointed by the police jury?
LSA-R.S. 42:63, dealing with dual officeholding, provides, in pertinent part, as follows:
      D. No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof.  No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office.  In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board hold any office or employment with any sheriff, assessor, or clerk of court.  (Emphasis added.)
"Elective office", "appointive office", "full time", and "part time" are defined by LSA-R.S. 42:62 as follows:
      (1) "Elective office" means any position which is established or authorized by the constitution or laws of this state or by the charter or ordinances of any political subdivision thereof, which is not a political party office, and which is filled by vote of the citizens of this state or of a political subdivision thereof.
      (2)"Appointive office" means any office in any branch of government or other position on an agency, board, or commission or any executive office of any agency, board, commission, or department which is specifically established or specifically authorized by the constitution or laws of this state or by the charter or ordinances of any political subdivision thereof and which is filled by appointment or election by an elected or appointed public official or by a governmental body composed of such officials of this state or of a political subdivision thereof.
      (4) "Full time" means the period of time which a person normally works or is expected to work in an appointive office or employment and which is at least seven hours per day of work and at least thirty-five hours per week of work.
      (5) "Part time" means the period of time which a person normally works or is expected to work in an appointive office or employment and which is less than the number of hours of work defined in this Section as full time.
Members of the Ville Platte Board of Aldermen hold a municipal elective office.  According to information given to this office by you, members of the Evangeline Parish Solid Waste Commission hold a part-time appointive parochial office.  Since members of the commission hold only part-time appointive office, elected members of the Ville Platte Board of Aldermen are not prohibited by the Louisiana dual officeholding statute from also serving on the Evangeline Parish Solid Waste Commission.
Trusting this to be of sufficient information, I am
Sincerely,
                                  WILLIAM J. GUSTE, JR. Attorney General
                                  BY: NORMAN W. ERSHLER Assistant Attorney General